         Case 9:20-cv-00097-DLC Document 35 Filed 02/28/22 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                              MISSOULA DIVISION



  WILDEARTH GUARDIANS, et al.,
                          Plaintiffs,               CV 20–97–M–DLC

         vs.

  MARTHA WILLIAMS, et al.,                           ORDER

                        Defendants.

       Before the Court is the parties’ Joint Status Report and Motion to Extend

Stay. (Doc. 34.) The joint status report states that the parties have reached a

settlement agreement in principle to resolve the claim at issue in this case, and the

motion requests an extension of the stay of this litigation through April 1, 2022 to

allow time to finalize the settlement agreement and obtain necessary approvals.

       Accordingly, IT IS ORDERED that the motion (Doc. 34) is GRANTED.

This litigation is stayed until April 1, 2022.

       IT IS FURTHER ORDERED that on or before April 1, 2022, the parties

shall file either:

   (a) a proposed settlement agreement for the Court’s review and approval;

   (b) notice that the parties need an additional 30-day stay to finalize settlement;

       or


                                           1
     Case 9:20-cv-00097-DLC Document 35 Filed 02/28/22 Page 2 of 2



(c) notice that settlement could not be finalized and a proposed new scheduling

   order for briefing the matter on summary judgment.

   DATED this 28th day of February, 2022.




                                     2
